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 1   Ramsey M. Al-Salam, Bar No. 109506
     Christina J. McCullough, Bar No. 245944
 2   Antoine M. McNamara, Bar No. 261980
     R. Tyler Kendrick, admitted pro hac vice
 3   Jessica J. Delacenserie, admitted pro hac vice
     PERKINS COIE LLP
 4   1201 Third Avenue, Suite 4900
     Seattle, WA 98101
 5   Tel: 206.359.8000 / Fax: 206.359.9000
     RAlsalam@perkinscoie.com
 6   CMcCullough@perkinscoie.com
     AMcNamara@perkinscoie.com
 7   RKendrick@perkinscoie.com
     JDelacenserie@perkinscoie.com
 8
     Daniel T. Shvodian, Bar No. 184576
 9   PERKINS COIE LLP
     3150 Porter Drive
10   Palo Alto, CA 94304-1212
     Tel: 650.838.4300 / Fax: 650.737.5461
11   DShvodian@perkinscoie.com

12   Daniel T. Keese, Bar No. 280683
     PERKINS COIE LLP
13   1120 NW Couch Street, 10th Floor
     Portland, OR 97209-4128
14   Tel: 503-727-2000 / Fax: 503-727-2222
     DKeese@perkinscoie.com
15
     Attorneys for Plaintiff Impinj, Inc..
16

17                                 UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19   IMPINJ, INC.,                                    Case No. 4:19-cv-03161-YGR-VKD
20                          Plaintiff,
                                                      PLAINTIFF IMPINJ, INC.’S RETRIAL
21          v.                                        MOTIONS IN LIMINE
22   NXP USA, INC.,
23                          Defendant.
24

25

26

27

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 1            Pursuant to this Court’s Standing Order Re: Pretrial Instructions in Civil Cases (Updated

 2   December 21, 2023), Pretrial Order No. 1A: Retrial Date (Dkt. No. 486), and the parties’

 3   agreement, Plaintiff Impinj, Inc. (“Impinj”) hereby moves in limine for an order precluding

 4   Defendant NXP USA, Inc. (“NXP”) from offering any argument, evidence, or testimony as more

 5   fully set forth below.

 6   I.       MOTION IN LIMINE NO. 1: PRECLUSION OF EVIDENCE RELATING TO
              HITAG
 7
              Impinj respectfully seeks an order precluding NXP from presenting evidence, testimony, or
 8
     argument related to its allegedly prior art HITAG product during the upcoming retrial on validity
 9
     issues on the ‘302 patent. The product was not timely identified as prior art, NXP has already lost
10
     two motions to amend its contentions to add it, and it has no relevance to the issue of whether the
11
     ‘302 claims at issue can be proven invalid. Finally, there is a significant risk that NXP will simply
12
     use it to try to confuse the jury, as it did at the first trial in contravention of the Court’s Order.
13
              NXP already lost its eve-of-trial motion to amend its invalidity contentions to add the
14
     HITAG product. See Dkt. No. 367 (motion); Dkt. No. 396 (opposition); Dkt. 411 at 2-3 (Trial
15
     Order No. 3 denying NXP’s motion based on NXP’s lack of diligence and the significant prejudice
16
     to Impinj that would result from NXP presenting alleged prior art that was not identified and
17
     addressed during discovery in violation of the deadlines set by the Court).
18
              Despite the Court’s denial of its motion to amend, during the first trial NXP repeatedly
19
     elicited testimony and argued that HITAG was prior art, at times in the guise of a non-infringing
20
     alternative. Trial Tr. (Zenz) 967, 986-87 (eliciting testimony from NXP witness about NXP
21
     allegedly inventing large pads with HITAG before the ’302 patent), 1044-47 (Subramanian)
22
     (eliciting testimony from NXP’s expert that the HITAG allegedly predates the ’302 patent and
23
     attempting to elicit testimony regarding anticipation over multiple objections), 1334 (arguing
24
     HITAG includes every element in closing), 1339-1341, 1352-53 (asserting NXP already had
25
     everything with HITAG during closing), 1382-1399 (arguing in response to a jury note that the
26
     Court should instruct the jury that HITAG should be considered as prior art). In short, NXP used
27
     the non-infringing alternative justification to flout the Court’s Order and confuse the jury. And
28
                                                                           PLAINTIFF IMPINJ INC.’S RETRIAL
                                                                                         MOTIONS IN LIMINE
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 1   NXP succeeded in confusing the jury, as reflected in the jury asking whether HITAG was to be

 2   considered prior art. See Dkt. No. 428 (Jury Note No. 3).

 3           After the trial, NXP once again sought to shoehorn HITAG back into the case, seeking

 4   reconsideration of the Court’s Trial Order No. 3 that denied its motion to amend. Dkt. No. 489

 5   (motion); Dkt. No. 491 (opposition). Indeed, NXP argued that the jury had considered HITAG to

 6   be prior art. Dkt. No. 489 at 2, 4-5. The Court again denied NXP’s attempt at reconsideration,

 7   noting that the Court’s order of a limited retrial should not be construed as permitting NXP to

 8   present theories that were not before the jury in the previous trial and that the only ground of

 9   invalidity that NXP presented at trial was the combination of Eberhardt and Ching-San. 1 Dkt. No.

10   495 at 2.

11           At the upcoming retrial of validity, NXP should be precluded from introducing evidence,

12   testimony or argument relating to HITAG. This should include excluding Trial Exhibits 159, 160,

13   413, 1292, 1293, and 1310 from evidence. The upcoming retrial is limited to validity issues and

14   HITAG has repeatedly been excluded as prior art. NXP previously introduced HITAG as a non-

15   infringing alternative, but that is irrelevant to validity because non-infringing alternatives are only

16   relevant to damages, which is not at issue in the retrial. Accordingly, under Federal Rules of

17   Evidence 401 and 403, HITAG is not relevant to the issues in the retrial, or at least is far more

18   prejudicial than probative of the invalidity issues.

19           NXP may argue that HITAG is relevant to copying. But it is not. Copying can be relevant

20   to validity because an infringer’s copying of a patented invention is evidence of nonobviousness.

21   Amgen Inc. v. Sandoz Inc., 66 F.4th 952, 963 (Fed. Cir. 2023) (quoting Ruiz v. A.B. Chance Co.,

22   234 F.3d 654, 660 (Fed. Cir. 2000)) (“Thus, there are a variety of objective indicia of

23
     1
       Under the Court’s order denying leave for NXP to move for reconsideration. NXP is only
24   permitted to present the Eberhardt and Ching-San combination and not the other theories in NXP’s
     invalidity contentions, much less HITAG, which the Court has repeatedly ruled cannot be presented
25   as an invalidity reference. Dkt. No. 495 at 2 (“The only ground NXP advanced at trial for the
     obviousness of the asserted claims of the ’302 patent was the combination of Eberhardt and Ching-
26   San …. Nothing in the Court’s orders should be construed as an invitation to … re-litigate the
     validity of the ’302 patent as to entirely new invalidity grounds involving new prior art references
27   that were not before the jury in the previous trial….”); see also Dkt No. 471 at 4, 8-9 (“The only
     ground NXP advanced at trial for the obviousness of the asserted claims of the ’302 was the
28   combination of Eberhardt and Ching-San.”); Dkt No. 486.at 1 (setting a retrial).
                                                                        PLAINTIFF IMPINJ INC.’S RETRIAL
                                                                                      MOTIONS IN LIMINE
                                                                          CASE NO. 4:19-CV-03161-YGR-AGT
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 1   nonobviousness that may inform the circumstances surrounding the origin of the subject matter

 2   sought to be patented including, but not limited to, ‘commercial success, long-felt but unresolved

 3   need, failure of others, copying, and unexpected results.’”) In the instant case, NXP’s documents

 4   reflect that NXP adopted its infringing pads in response to customer praise for Impinj’s innovative

 5   large pads. See, e.g., Trial Ex. 229 at 229.19

 6

 7                                                                                       ; July 12, 2023

 8   Trial Tr. (Zenz) at 974:10-976:17, 980:7-18; Dkt. No. 472 (“Impinj has shown a connection

 9   between the harm and the infringement where, in this basically two-player market, customers have

10   clamored for the large pads of the ’302 patent.”). NXP’s witness, Mr. Zenz, admitted that NXP

11   adopted that design to correspond to Impinj’s designs for customer convenience. July 11, 2023

12   Trial Tr. (Zenz) at 914:19-916:6 (“And by that, our -- basically, it's for the customer much more

13   convenient if they have set up a production line for UHF production, yeah, and to use Impinj. And

14   they can use basically the same settings. They can use the same queue and they just use the same

15   design and -- from NXP and vice versa. Because then they save all the conversion time on the

16   equipment to set up the equipment newly for a kind of different pad design.”) Further, the parties’

17   products at issue are ultra-high frequency (UHF) “RAIN” integrated circuits that use “flip-chip”

18   methods to attach the ICs to antennas. HITAG is not a UHF product that uses flip-chip. See July

19   6, 2023 Trial Tr. (Diorio) at 242:4-11; July 6, 2023 Trial Tr. (Oliver) at 321:17-322:14, 326:24-

20   327:16; July 12, 2023 Trial Tr. (Zenz) at 984:16-985:18, 988:9-989:3 (HITAG is a low frequency

21   not UHF); . More importantly, there is no evidence that NXP used the HITAG pads on its infringing

22   products. See, e.g. July 12, 2023 Trial Tr. (Zenz) at 984:16-985:18, 988:9-989:3. The undisputed

23   evidence is that it adopted large pads for its infringing products because of the popularity of that

24   feature on Impinj’s products, not because it was on a different non-UHF wire-bonded NXP product.

25          Given that there is no relevance to the HITAG product, and that NXP misleadingly

26   presented its relevance in the original trial for the purpose of confusing the jury, it should be

27   precluded from making any reference to HITAG in the upcoming trial.

28
                                                                      PLAINTIFF IMPINJ INC.’S RETRIAL
                                                                                    MOTIONS IN LIMINE
                                                                        CASE NO. 4:19-CV-03161-YGR-AGT
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 2       Dated: January 12, 2024.
                                       By: /s/ Ramsey M. Al-Salam __________
 3                                        Ramsey M. Al-Salam, Bar No. 109506
 4                                        Christina J. McCullough, Bar No. 245944
                                          Antoine M. McNamara, Bar No. 261980
 5                                        R. Tyler Kendrick (admitted pro hac vice)
                                          Jessica J. Delacenserie (admitted pro hac vice)
 6                                        PERKINS COIE LLP
                                          1201 Third Avenue, 49th Floor
 7
                                          Seattle, WA 98101
 8                                        Tel: 206.359.8000
                                          Fax: 206.359.9000
 9                                        RAlSalam@perkinscoie.com
                                          CMcCullough@perkinscoie.com
10                                        AMcNamara@perkinscoie.com
                                          RKendrick@perkinscoie.com
11
                                          JDelacenserie@perkinscoie.com
12
                                          Daniel T. Shvodian, Bar No. 184576
13                                        PERKINS COIE LLP
                                          3150 Porter Drive
14                                        Palo Alto, CA 94304
                                          Tel: 650.838.4300
15
                                          Fax: 650.737.5461
16                                        DShvodian@perkinscoie.com

17                                        Daniel T. Keese, Bar No. 280683
                                          PERKINS COIE LLP
18                                        1120 N.W. Couch Street, 10th Floor
19                                        Portland, OR 97209-4128
                                          Tel: 503.727.2000
20                                        Fax: 503.727.2222
                                          DKeese@perkinscoie.com
21
                                          Attorneys for Plaintiff Impinj, Inc.
22

23

24

25

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